     Case: 2:10-cr-00160-SA-JMV Doc #: 1197 Filed: 10/20/17 1 of 1 PageID #: 5755




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

AIREN PAIGE WILLIAMS                                                                   MOVANT

v.                                                                  No. 2:10CR160-SA-JMV-23

UNITED STATES OF AMERICA                                                         RESPONDENT


                                     FINAL JUDGMENT

       In accordance with the memorandum opinion issued today in this cause, the instant Motion to

Vacate, Set Aside, or Correct Sentence is DISMISSED as waived.


       SO ORDERED, this, the 20th day of October, 2017.


                                                            /s/ Sharion Aycock________
                                                            U.S. DISTRICT JUDGE
